Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 1 of 58

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

US.0.C. Atlanta
JUL 27 2020

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Ellis Eugene Phelps

4749 Old Countryside Circle South
Stone Mountain, Georgia 30083

Plaintiff
VS

1?20-CV-3113

United States of America
U.S. DEPARTMENT OF THE INTERIOR

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Defendant

| am before the court for redress of unclaimed treaty obligations with United States of
America. My ancestors (Native Americans) have been in America from time
immemorial, thousands of years prior to European arrival in 1492. We were in
Ocmulgee Old fields prior to the erection of Ft Hawkins in 1806. We were here before

the Mayflower compact, constitutions, statues, or codes.

The jurisdiction and venue is proper for redress and assertion of my rights under Article
6 of the Constitution of the United States which states; “All debts contracted and
engagements entered into, before the adoption of this Constitution, shall be as valid

against the United States under this Constitution, as under the Confederation.

Page 1 of8

 

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Case 1:20-cv-03113-SCJ Document 1 Filed 07/27/20 Page 2 of 58

This Constitution, and the Laws of the United States which shall be made in Pursuance
thereof; and all Treaties made, or which shall be made, under the Authority of the United
States, shall be the supreme Law of the Land; and the Judges in every State shail be
bound thereby, any thing in the Constitution or Laws of any state to the Contrary
notwithstanding. The Senators and Representatives before mentioned, and the
Members of the several State Legislatures, and all executive and judicial Officers, both
of the United States and of the several States, shall be bound by Oath or Affirmation, to
support this Constitution; but no religious Test shall ever be required as a Qualification

to any Office or public Trust under the United States.”

1. My name is Ellis Eugene Phelps, this is my statement of claim as the heir to
promise(s) and unclaimed debts per Article 8 of the Treaty of 1817 Cherokee Agency,
which reads; “And to each and every head of any Indian family residing on the east side
of the Mississippi river, on the lands that are now or may hereafter be surrendered to
the United States, who may wish to become citizens of the United States, the United
States do agree to give a reservation of six hundred and forty acres of land in a square
to include their improvements which are to be as near the centre thereof as practicable,
in which they will have a life estate with a reversion in fee simple to their children
reserving to the widow her dower, the register of whose names is to be filed in the office
of the Cherokee agent, which shall be kept open until the census is taken as stipulated

in the third article of this treaty.” Claiming

2. Article 2 of the 1819 Treaty of Washington which reads; “The United States agree to

pay, according to the stipulations contained in the treaty of the eighth of July, eighteen

Pagez of 8
Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 3 of 58

hundred and seventeen, for all improvements on land lying within the country ceded by
the Cherokees, which add real value to the land, and do agree fo allow a reservation of
six hundred and forty acres to each head of any Indian family residing within the ceded
temitory, those enrolled for the Arkansaw excepted, who choose to become citizens of

the United States, in the manner stipulated in said treaty.” Claiming

3. Article 12 of the Treaty of 1835 which reads; “that are averse to a removal to the
Cherokee country west of the Mississippi and are desirous to become citizens of the
States where they reside and such as are qualified to take care of themselves and their
property shall be entitled to receive their due portion of all the personal benefits
accruing under this treaty for their claims, improvements and per capita as soon as an
appropnation is made for this treaty. Such beads of Cherokee families as are desirous
to reside within the States of No. Carolina Tennessee and Alabama subject to the laws
of the same; and who are qualified or calculated to become useful citizens shall be
entitled, on the certificate of the commissioners to a preemption nght to one hundred
and sixty acres of land or one quarter section at the minimum Congress pnce; so as to
include the present buildings or improvements of those who now reside there and such
as do not live there at present shall be permitted to locate within two years any lands
not already occupied by persons entitled to pre-emption pnivilege under this treaty and if
two or more families live on the same quarter section and they desire to continue their
residence in these States and are qualified as above specified they shall, on receiving
their pre-emption certificate be entitled to the nght of pre-emption to such lands as they

may Select not already taken by any person entitled to them under this treaty.” Claiming

Page 3 of 8
 

Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 4 of 58

4. As recorded, “In the year 1808, the Cherokee Nation expressed to the United States
their inclination to divide themselves into two Nations. Part of them, about one third,
were disposed to continue the hunter state (hunters and gatherers), and, with this view,
fo remove to the west, where game was more abundant, on lands to be assigned to
them by the United States in exchange for their proportion of the lands east of the
Mississippi: the other part were disposed to remain to engage in the pursuits of
agnculture and civilized life in the country they occupied” where, “they proposed to
begin the establishment of fixed laws, and a regular government.” Their wishes were
communicated to the President of the United States, who favored the scheme. Under
his permission and sanction, part of them removed, in the year 1809, to Arkansas, and
the separation was carned into complete effect by the treaties of 1817, 1819: it being
perfectly understood, agreed, and encouraged by the United States, that those who
should remain , would “engage in the pursuits of agriculture and civilized life,” under the
protection of fixed laws and a regular government, to be established by themselves.” ~
The State of Georgia To Extend Her Laws Over Cherokee Nation Page 12 paragraph 3

William Wirt Esq. US Attorney General 1817 - 1829

5. My ancestors remained in Macon, Georgia and the surrounding areas of Twiggs,
Pike, Bibb and Jones County Georgia Exhibit A and North Carolina Exhibit B in the
pursuit of the American dream of “agriculture and civilization” encouraged by the United

States of America.

6. Concerning the matter of “civility”, | have raised, seven(7) highly esteemed children,

of which currently four (4) of them have obtained six (6) college degrees, (1) Nurse (2)

Page 4 of 8

 
 

Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 5 of 58

Administrators, (1) Psychology major with two (2) degrees currently working on her
Masters Degree, one honor student attending North Carolina Agricultural and Technical
State University in continued pursuit thereof. All 100% Native Americans. (4) beautiful
grandchildren (1) HVAC Technician and (1) Currently pursuing a career in the United
States Armed forces. My wife and | have mentored dozens of college graduates and

high school honor students to be great. Genesis 18:19

7. Despite the many challenges (Indian wars, Loss of Land, Amencan Slavery,
Reconstruction and Civil Rights Struggles) of American History, of the attached
genealogy/timeline we have kept the faith and continue to do so that the promises of the
aforementioned treaties are fulfilled. | am a product of Creeks from Ocmulgee Old fields
in Macon, GA and Cherokee from Mt. Airy, North Carolina (Exhibit A-B), American

Agriculture and, Civilization and continual contributor of “Making America Great Again’.

8. As a matter of force majeure and as recorded, “But it was found that those remaining
in the old nation, east of the Mississippi, were intruded on by the whites, and in many
instances, overreached by them and depnved of the homes the government of the
United States had attempted, by the treaties of 1817 and 1819, to secure to them, and
so turned out of passion and left as thriftless vagrants to contend with a condition of
society for which they were not qualified, and with an intelligence and enterprise to
which they were strangers, and in contact with which they were doomed to dwindle out
a short and miserable existence, in wretchedness and homeless poverty. At the same
time the States in which their lands were situated regarding them as bad neighbors,

were urging the federal government to arrange for the extinguishment of their titles, so

Page 5 of &
 

Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 6 of 58

as to enable them to extend the laws of those States, respectively, over this
territory.” (Page 3, Line 6) 36th Congress, ist Session. HOUSE OF

REPRESENTATIVES. Report No. 534. May,18 1860.

In Closing, | am thankful that the Holy Spirit of “our God” and the administration of the
United States of America have protected and stored in trust a portion of land and
resources for the righteous to inherit, love, live, rebuild, and enjoy perpetual peace as
promised. My prayer of relief is that all unclaimed debts, and equity as contracted be
awarded to me per the aforementioned articles and treaties to secure a permanent
home for my family and our posterity in the country selected by our forefathers in order
to perpetuate such a state of society as may be most consonant with our views, habits
and condition: and as may tend to our individual comfort, and our advancement in
civilization. Exhibit A and B, is my Ocmulgee/Macon, GA and, North Carolina genealogy
and records for your perusal and execution of the promises of said treaties.

Anything else would be genocide.

God Bless America

- UCC 1-308 without prejudice
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Fage 6 of 8
 

Case 1:20-cv-03113-SCJ Document 1 Filed 07/27/20 Page 7 of 58

EXHIBIT A (29 Pages) (Cherokee) NORTH CAROLINA — Mother’s Genealogy
Esther Pamel Sallie Ross
B: 1780 - D: unknown B: unknown- D: unknown
3rd Great Grandmother 3rd Great Grandmother
Page 1, 3, Page 22
Chas Chambers — Manda Chambers James Webster _ Winnie Webster
B: 1816 - D: unknown B:1816 - D: unknown B: 1826 - D: unknown B: 1843 - D: unknown
2nd Great Grandfather 2rd Great Grandmother 2nd Great Grandfather 2rd Great Grandmother
Page 4,5 Page 6-10 Page 8,10
John Crawler Pete Flippin _ Mella Ross
B: unknown - D: unknown B: 1826 - D: unknown B: 1850 - D: unknown
2nd Grandfather 2nd Great Grandfather 2nd Great Grandfather
Page 11-13 Page 19,
Jesse Chambers - Sarah Crawler Pleasant H Webster — Melissa Flippin
1862 - 1916 D: 1875 - D: unknown B: 1861 - D: unknown B: 1861 - D:unknown
1st Great Grandfather 1st Great Grandmother 1st Great Grandfather 1st Great Grandmother
Page 14 Page 11-14 Page 2, 3, 16, 18
Ellis Chambers Esther Webster
B: 1897 D: unknown B: 1990 D: 1990
Grandfather Grandmother
Page 25 Page 18, 24, 25

Wilma Kathleen Phelps
B: 1927 - D: 2006
Mother

Page 25,26

Page 7 of 8

 
 

 

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7/20/2020 Ancestry.com

1870 United States Federal Census

Record Index

Name: Esther Pamel
Age in 1870: 90
Birth Year: 1780
Birthplace: Virginia
Dwelling Number: 67

Home in 1870: Quaker Gap, Stokes,
North Carolina

Race: Black
Gender: Female
Post Office: Martins Lime Kiln
Occupation: At Home

Father of Foreign
Birth:
Mother of Foreign
Birth:
Attended School:

Cannot Read: Y

Cannot Write: Y
Disability Condition:

Male Citizen Over 21: Y
Denied Voting Rights:

Personal Estate
Value:

Real Estate Value:
Inferred Father:
inferred Mother:
Inferred Spouse:
Inferred Children:
Household Members: 7

Source Information
Record Url: https://www.ancestry.com/imageviewer/collections/7163/images/4277636_00378

Source Citation: Year: 1870; Census Place: Quaker Gap, Stokes, North Carolina; Roll:
M593_1160; Page: 182B; Family History Library Film: 552659

Source Information Ancestry.com. 1870 United States Federal Census [database on-line].

Provo, UT, USA: Ancestry.com Operations, Inc., 2009. Images reproduced by FamilySearch.
Original data: 1870 U.S. census, population schedules. NARA microfilm publication M593, 1,761

https://www.ancestry.com/imageviewer/collections/7 163/images/4277636_00378?usePUB=true&_phsre=V wq 1253 &usePUBJs=true& pld=20077253 &backurl=https%3A %2F% 2Fwww.ancestry.com%2Ffamily-tree%2Fpe

 

 
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https://www.ancestry.com/imageviewer/collections/7 163/images/4277636_00378 ?usePUB=true&_phsrc=V wq 1253 &usePUBIs=true& pld=20077253&backurl=https 3A %2F% 2Fw ww .ancestry.com%2Ffamil y-tree% 2Fpers

 

Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 9 of 58

Ancestry.com

rolls. Washington, D.C.: National Archives and Records Administration, n.d.Minnesota census
schedules for 1870. NARA microfilm publication T132, 13 rolls. Washington, D.C.: National
Archives and Records Administration, n.d.
 

 

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Page No. “e i a ee a ee ey ats gay AR 17, 19, and 20 are to be answered (if at all)

Scuepcie 1.—Inhabitants in Jacbee bik. tee fF Me , in the County of Bilger _, Stato
of NG ie oa mo on the 4“ # day of _& tha, 1870. -
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Ancestry.com

1870 United States Federal Census

Record index

Name:

Age in 1870:

Birth Year:
Birthplace:
Dwelling Number:
Home in 1870:

Race:

Gender:

Post Office:
Occupation:

Father of Foreign
Birth:

Mother of Foreign
Birth:

Attended School:
Cannot Read:
Cannot Write:
Disability Condition:
Male Citizen Over 21:
Denied Voting Rights:

Personal Estate
Value:

Real Estate Value:
inferred Father:
Inferred Mother:
Inferred Spouse:
Inferred Children:

Chas Chambers
54

1816

North Carolina
263

Sheffields, Moore, North
Carolina

Black

Male
Carters Mills
Farmer

150

Manda Chambers
Mary Chambers

Household Members: 5

Source Information
Record Url: https://www.ancestry.com/imageviewer/collections/7163/images/4277625_00588

Source Information {0}
Original data: {1}

https://www.ancestry.com/imageviewer/collections/7 163/images/4277625_00588?usePUB=true&_phsre=V wq 1327 &usePUBJs=true&pld=229280 | 2&backurl=https%3A %2F% 2Fwww.ancestry.com%2Ffamily-tree%2Fpe
Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 12 of 58

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7/20/2020 Ancestry.com

U.S., Naval Enlistment Rendezvous, 1855-1891

Record Index

Name: James Webster
Enlistment Date: May 1869
Enlistment Place: New York
Age: 43
Birth Year: 1826
Birth Place: Virginia
Complexion: Florid
Volume: 52
Page: 79

NARA Publication Weekly return of
Title: enlistments at Naval
Rendezvous ("Enlistment
Rendezvous"), Jan. 6,
1855-Aug. 8, 1891

NARA Publication M1953
Number:

NARA Roll: 37
FHL Film Number: 2383637

Source Information

Record Url: https://www.ancestry.com/imageviewer/collections/60368/images/MM9.3.1_2FTH-1-14738-12502-7
Source Information Ancestry.com. U.S., Naval Enlistment Rendezvous, 1855-1891 [database on-line]. Provo, UT, USA: Ancestry.com Operations,

Inc., 2014.
Original data: United States, Naval Enlistment Rendezvous, 1855-1891. Salt Lake City, Utah: FamilySearch, 2013.

https://www.ancestry.com/imageviewer/collections/60368/images/MM9 3.1_2FTH-1-14738-12502-7?usePUB=true&_phsrc=V wq 1243 &use PUBJs=true& pld=2 12074 &backurl=https%3 A %2F%2Fwww.ancestry.com%2Ffa

 

 
 

 

 

Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 14 of 58

A so ENLISTMENTS AT NEW YORK IN 1867. 9

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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 15 of 58 2” Grea? Gian dparent s
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1870 United States Federal Census

Record Index

Name:

Age in 1870:

Birth Year:
Birthplace:
Dwelling Number:
Home in 1870:

Race:

Gender:

Post Office:
Occupation:

Father of Foreign
Birth:

Mother of Foreign
Birth:

Attended School:
Cannot Read:
Cannot Write:
Disability Condition:
Male Citizen Over 21:
Denied Voting Rights:

Personal Estate
Value:

Real Estate Value:
Inferred Father:
Inferred Mother:
Inferred Spouse:
Inferred Children:
Household Members:

James Webster
45

1825

Virginia

67

Quaker Gap, Stokes,
North Carolina

Black

Male

Martins Lime Kiln
Farmer Leased

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90

Winny Webster
Pleasant Webster
7

Source Information
Record Urt: https://www.ancestry.com/imageviewer/collections/7163/images/4277636_00378

Source Citation: Year: 1870; Census Place: Quaker Gap, Stokes, North Carolina; Roll:
M593_1160; Page: 182B; Family History Library Film: 552659

Source Information Ancestry.com. 1870 United States Federal Census [database on-line].
Provo, UT, USA: Ancestry.com Operations, Inc., 2009. Images reproduced by FamilySearch.
Original data: 1870 U.S. census, population schedules. NARA microfilm publication M593, 1,761

https://www.ancestry.com/imageviewer/collections/7 | 63/images/4277636_00378?usePUB=true&_phsre=Vwq1296&usePUBJs=true&pld=34487059 &backurl=https%3A %2F%2Fwww.ancestry.com%2Ffamily-tree%2Fpe

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7/20/2020

Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 16 of 58

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rolls. Washington, D.C.: National Archives and Records Administration, n.d.Minnesota census
schedules for 1870. NARA microfilm publication T132, 13 rolls. Washington, D.C.: National
Archives and Records Administration, n.d.

https://www.ancestry.com/imageviewer/collections/7 163/images/4277636_00378?usePUB=true&_phsrc=V wq1 296&usePUBJs=truc& pld=34487059&backurl=https%3A %2F%2F www .ancestry.com%2Ffamily-tree%2Fpers:
Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 17 of 58

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Page No. 10 i we eS deca rote, fi 17, 19, and 20 are to be answered (if at all)

Scuepcie 1.—Inhabitants in A habe Male heel Hail in the County of then, State
of — fb. gamatestes B. me « on the “7 « “® day of fe Aka _, 1870. va
Post Office: Le Fe cet es “ 3 pele Ninel en Ahes't Marshal,

Place of lieth, pamtug Suae
Territory of U. &; or the
Comutry, if of forign bieth.

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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 18 of 58

Ancestry.com

U.S., Civil War Pension Index: General Index to Pension Files, 1861-1934

Record Index

Name: John Crawler

Gender:
: Indian Territory, USA
Relation to Head: Soldier
Father:
Mother:
Spouse:
Child: Sarah Crawler, et AL

Relative:
Running Number:
Comments:

Source Information
Record Url: bitps;Avww.ancestry.com im agewewer/collections/AG54/ images; 32959 03276) UAIBE

Source Citation: The National Archives at Washington, D.C.; Washington, D.C.; Record Group Title: Records of the Department of Veterans Affairs,
1773 - 2007; Record Group Number: 15; Series Title: U.S., Civil War Pension Index General Index to Pension Files, 1861-1934; Series Number: T7288

Source Information National Archives and Records Administration. U.S., Civil War Pension index General Index to Pension Files, 1861-1934

{database on-line}. Provo, UT, USA: Ancestry.com Operations Inc, 2000.
Original data: General Index to Pension Files, 1861-1934. Washington, D.C.: National Archives and Records Administration. 7288, 546 rolls.

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Case 1:20-cv-03113-SCJ Document, filed 07/27/20 Page 19 of 58

North Carolina, Death Certificates, 1909-1976

Recard Index

Name: Sarah Chambers
Gender: Female
Race:
Age:
Birth Date:
Birth Place:
Residence Place:
Death Date:
Death Place:
Father:
Mother:
Spouse: Jesse Chambers

Child: Clinton Eugene
Chambers

*
«

Source Information

Record Url: nlips, /www.ancesiry.cainjpnagemewer/collections Lie laniages/S123 462 196?
Source Citation: North Carolina State Archives; Raleigh, North Carolina; North Carolina Death Certificates

Source Information Ancestry.com. North Carolina, Death Certificates, 1909 1976 {database on-line]. Provo, UT, USA: Ancestry.com
Operations Inc, 2007.

Original data: North Carolina State Board of Health, Bureau of Vital Statistics. North Carolina Death Certificates. Microfilm $.123. Rolls
19-242, 280, 313-682, 1040-1297. North Carolina State Archives, Raleigh, North Carolina.

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Case 1:20-cv-03113-SCJ Document 1 Filed 07/27/20 Page 20 of 58

 

 

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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 21 of 58

Ancestry.com

~ 9 41959 NORTH CAROLINA STATE BOARD OF HEALTH
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CERTIFICATE OF DEATH ,
REGISTRATION ofb 78 REGISTRARS 2444 7

District NO SEATIFICATE No
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INSTIT’TION Hich Point Memorjzl Hosp ok} ps0 396 wise Street

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INITRY = Mo! mone Lt st span L. 3 . 4 - _ a =
2. I atiended th deceased fram Det, 6, wd, Get, Ry 59 cates saw Bales on Net, Ro ay

pret a SELON the date stated abewe: aud to the Best of my bucteletze fromm the camtes stated oe
Bs, Kika | db. ADDRESS { te DATE ENED
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Ws BURIAL, CREMA- 2b. DATE = NAME OF CUMETERY OR CREMATORY 2a LOCATION — Cisy, tom, of rouptys (tate)
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MEDICAL CERTIFICATION

 

 

 

 

 
Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 22 of 58

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Summerfield
Walkertown | Oak Ridge
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Wallburg
Jamestown
High Point wo
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NC-Tribal-and-Urban-Communities- Trinity

- Guilford County

North Carolina

Greensboro

Garden

 

Browns
Summit

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McLeansville .
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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 23 of 58

7/20/2020

Record Index

Name:

Age in 1910:
Birth Year:
Birthplace:
Home in 1910:

Ward:

Street:

House Number:
Race:

Gender:
Immigration Year:

Relation to Head of
House:

Marital Status:
Spouse's Name:
Parent's Name:
Father's Name:
Father's Birthplace:
Mother's Name:
Mother's Birthplace:
Native Tongue:
Occupation:
Industry:

Employer, Employee
or Other:

Home Owned or
Rented:

Home Free or
Mortgaged:

Farm or House:

Naturalization
Status:

Attended School:
Able to read:
Able to Write:
Institution:
Years Married:

Ethel Webster
9

1901

North Carolina

Quaker Gap, Stokes,
North Carolina

Ayersville Road

Black
Female

Daughter

Single

Pleas Webster
North Carolina
Sissy Webster

North Carolina

Laborer
Farm
Wage Earner

Yes

1910 United States Federal Census

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https://www.ancestry.com/imageviewer/collections/7884/images/4449818_00845?usePUB=true&_phsrc=V wi 290&usePUBIs=truc& pld=163279275&backurl=https%3A %2F%2Fwww ancestry.com%2Ffamily-tree%2Fpe

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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 24 of 58
7/20/2020 Ancestry.com

Number of Children
Born:

Number of Children
Living:
Out of Work:

Number of Weeks Out
of Work:

Survivor of Union or
Confederate Army or
Navy:

Blind:
Deaf and Dumb:
Neighbors: View others on page
Household Members: 7

Source Information
Record Url: https://www.ancestry.com/imageviewer/collections/7884/images/4449818_00845

Source Citation: Year: 1910; Census Place: Quaker Gap, Stokes, North Carolina; Roll: 7624_1128 Page: 12B; Enumeration District: 0182; FHL
microfilm: 1375141

Source information Ancestry.com. 1910 United States Federal Census [database on-line]. Lehi, UT, USA: Ancestry.com Operations Inc, 2006.
Original data: Thirteenth Census of the United States, 1910 (NARA microfilm publication T624, 1,178 rolls). Records of the Bureau of the Census,
Record Group 29. National Archives, Washington, D.C. For details on the contents of the film numbers, visit the following NARA web page: NARA.

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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 25 of 58

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7/23/2020

Case 1:20-cv-03113-SCJ Documamtsty.cdriled 07/27/20 Page 26 of 58

North Carolina, Death Certificates, 1909-1976

Record Index

Name:
Gender:
Race:

Age:

Birth Date:
Birth Place:

Residence Place:

Death Date:

Death Place:

Father:
Mother:

Spouse:

Mella Flippin
Female
Black

80

1850

, North Carolina, United
States

12 Jul 1930

Westfield, Surry, North
Carolina, USA

Sallie Ross
Pete Flippin

Child:

Source Information

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Source Citation: North Carolina State Archives; Raleigh, North Carolina; North Carolina Death
Certificates

Source Information Ancestry.com. North Carolina, Death Certificates, 1909-1976 [database on-
line]. Provo, UT, USA: Ancestry.com Operations tnc, 2007.

Original data: North Carolina State Board of Health, Bureau of Vital Statistics. North Carolina
Death Certificates. Microfilm $.123. Rolls 19-242, 280, 313-682, 1040-1297. North Carolina State
Archives, Raleigh, North Carolina.

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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 27 of 58

Ancestry.com

Months Not 0
Employed:

Attended School:
Can Read: No
Can Write: No
Can Speak English: Yes

House Ownedor R —
Rented:

Home Free or
Mortgaged:

Farm or House: F
Neighbors: View others on page
Household Members: 5

Source Information

Record Url: jiltos //www.ancestrcan/image mew /Caicn tons) PG02 ese rT EASES ORDA

Source Citation: Year: 1900; Census Place: Quaker Gap, Stokes, North Carolina; Page: 16 Enumeration District: 0097, FHL microfilm: 1241218
Source Information Ancestry.com. 1900 United States Federal Census [database on-line]. Provo, UT, USA: Ancestry.com Operations Inc, 2004.

Original data: United States of America, Bureau of the Census. Twelfth Census of the United States, 1900. Washington, D.C.: National Archives and
Records Administration, 1900. 7623, 1854 rolls,
 

 

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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 29 of 58

7/20/2020

Form V. &. No. 12-~12-9-29,

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ED, EXACT STATEMENT OF OCCUPATION 19 Very (MPORTANT,

{SEE INSTRUCTIONS ON BACK OF CERTIFICATE)

TION SHOULD 68 CAREFULLY SuppLiep. AGE SHouLp Be STATED EXACTLY. PHYSICIANS

DEATH {8 PLAIN TERKs, 80 THAT IT MAY BE PROPERLY CLASSIFT

{PLACE OF DEATH

COUNTY OF
MAGISTERIAL
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on i
Dan Ri vor nnn REGISTRATION Distatct No £O | Epeeseren No.
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or
Gry oF

Length of resklence in city or town where death occurred... -2-.~ FT...

2 FULL NAME _Hlelia Flippin

Ancestry.com

CERTIFICATE OF DEATH
COMMONWEALTH OF VIRGINA 17525 ;
DEPARTMENT OF HEALTH
BUREAU OF VITAL Sraristics .
(POR OSE OF LOCAL Sitursteaay j

(Ro. st. Warp)

Gif death occured in a hospital or other tmatiation, give tts NAME {ustead of street and mumber)

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(A) Reswenex. No.

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PERSONAL AND STATISTICAL PARTICULARS

g = =
b £9, Sa) - Warp
(Hi nonresident give city or town and State)

MEDICAL CERTIFICATE OF DEATH

 

3 SEX 4, COLOR OR RACE

¥
5a, IF MARRIED, WIDOWED, OR DIVORCED

HUSBAND oF

(or) WIFE or Pete Klinoin

6. DATE OF BIRTH (month, day, and year)

 

 

5, SINGLE, MaRateo, Wioowse,
OR DIVORCED (write the word)
72

ES A att july 12-1930 1
22. THEREBY CERTIFY, Taat I arresoep deceascy rtou
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TO WAVE OCCURRED OM THE DATE STATED ABOVE, AT. 1.
THE PRINCIPAS CAUSE OF DEATH AND RELATED CAUSES OF IMPORTANCE IN

 

7. AGE Years Months Days

About 60

 

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+2 DAT a HAS

ORDER OF ONSET WERE AR Date of caret

 

 

&, TRADE, PROFESSION, OR PARTICULAR
KIND OF WORK DONE, AS SPINNER, None
SAWYER, 3 ETE.

9, InpesTRT OR BUSINESS TS WHICH

OCCUPATION

SPENT IN T!
OCCUPATION.

THIS OCCUPATION (mo:
YEAT)-c--cmeecernerne

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BIRTHPLACE, (city or town)
(State or country)

14. BIRTHPLACE (clty or town)
(State or country)

18. MAIDEN NAME

MOTHER| FATHER

 

ate or country)

WORK WAS DONE, AS SILK BRL, G28 Nene
BILL, BARE, ETC. —.

10. Date peckasen Last worKeo aT 11. ToTaL TiwH (TEARS)
HIS

13, NAME No Record

No Kecord
Sallie Ross —

16. bie a RGHby' OF HOWE) eee

CORTMIBUTORT CAUSES OF IMPORTANCE NOT RELATED TO
PRINCIPAL CAUSE,

NAME OF OPERATIOR ... rereswancie DATE OF werenratmrvecerenevers
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WHERE CID ENJURT OCCUR nnn mconenennvveereussseernenivemtterrerssssnnterninstingaastasasennemnete
(Specify city or town, county, and State)
SPACIFY WHETHER INZURT OCCURRED SH INDUSTRY, In HOME, OR IN PUNLIC
PLACE.

 

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(ADDRESS)

18. BURIAL, CREMATION, OR REMOVAL

Place aw

19. UNDERTAKER
(abpanss)

 

 

 

https://www.ancestry.com/imageviewer/collections/9278/images/43004_162028006074_0016-00459?usePUB=1

 

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Case 1:20-cv-03113-SCJ Document 1 Filed 07/27/20 Page 30 oPs@eranie /aree/s
7/20/2020 Ancestry.com —~ (Uoffer

Industry: Private Home
Class of Worker: Wage or salary worker
Employment: Yes
Veteran:
War:
Household Members: 4
Neighbors: View others on page

Source Information

Record Uri: https://www.ancestry.com/imageviewer/collections/6224/images/4608280_00692

Source Citation: Year: 1930; Census Place: Thomasville, Davidson, North Carolina; Enumeration District: 0025; FHL microfilm: 2341419
Source Information Ancestry.com. 1930 United States Federal Census [database on-line]. Provo, UT, USA: Ancestry.com Operations Inc, 2002.

Original data: United States of America, Bureau of the Census. Fifteenth Census of the United States, 1930. Washington, D.C.: National Archives
and Records Administration, 1930. T626, 2,667 rolls.

https://www.ancestry.com/imageviewer/collections/6224/mages/4608280_00692?usePUB=true&_phsrc=V wq 1283 &usePU BJ s=truek& pld=77255372&backurl=https %3A%2F%2Fwww.ancestry.com%2Ffamily-tree%2Fpers

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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 31 of 58

7/20/2020

Record Index

Name:

Birth Year:
Gender:

Race:

Age in 1930:
Birthplace:
Marital Status:

Relation to Head of
House:

Homemaker?:
Home in 1930:

Map of Home:

Street Address:
Ward of City:
Block:
Institution:
House Number:
Dwelling Number:
Family Number:

Home Owned or
Rented:

Home Value:

Radio Set:

Lives on Farm:

Age at First Marriage:
Attended School:

Able to Read and
Write:

Father's Birthplace:
Mother's Birthplace:
Language Spoken:
Immigration Year:
Naturalization:

Able to Speak
English:
Occupation:

hitps://www.ancestry.com/imageviewer/collections/6224/images/4608280_00692?usePUB=true&_phsrc=V wq1 283 &usePUBI: s=true&pld=77255372 &backurl=https%3A %2F%2F www ancestry.com%2Hamily-tree%2Fper

1930 United States Federal Census

Estha Chambers
1906

Female

Negro

24

North Carolina
Married

Wife

Yes

Thomasville, Davidson,
North Carolina, USA

Thomasville,Davidson,North
Carolina

Turner Street
1

1009
170
189

17
No
Yes

North Carolina
North Carolina

Yes

Nurse

Ancestry.com

 

 

 
 

 

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7/20/2020 [40 Kar Ancestry.com

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https://www.ancestry.com/imageviewer/collections/6224/images/4608280_00692?usePUB=trueg, _phsrc=V wq1283 &usePUBIs=truedkpld=77255372&backuri=https%3A %2F%2Fwww.ancestry.com%2Ffamil y-tree%2Fpers

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| CERTIFICATE OF BIRTH
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| ELLIS EUGENE PHELPS
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5
| DATE OF BIRTH

 
Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 34 of 58
Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 35 of 58

 

   
  
   
   
 
   
    
 

DRIVER’S LICENSE

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Bills Ex EUGENE

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ie, DEKALB ¢

as Resirictions A

ss 01/10/2049

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ELLIS E PHELPS _ Litas

4749 OLD COUNTRYSIDE GIR S
STONE MOUNTAIN, GA 30083

  

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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 36 of 58
 

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TRENTON CENTRAL HIGH SCHOOL

Trenton, New Jersey

Phone: (609) 989-2497

Charlie R. Ramsey (609) 989-2940

Principal Pax:

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To Whom It May Concern:
Tnis is to certify that_ Ellis Phelps z

according to the records of the Central High School, was graduated

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NOVEMBER

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Marriage
GARY LESHAW, JUDGE
day of NOVEMBER 2008
in the City af PAT Qounty of PO

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Page ca)

Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 38 of 58

Marriage Certi

State of ®eorgia

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en JUDGE OF THE PROBATE COURT, DECATUR, GAD 2 ‘
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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 39 of 58

EXHIBIT B Ocmulgee (Creek Indian) Macon, Georgia — Father’s Genealogy

(19 Pages)

Frank Phelps

2nd Great Grandfather

B: unknown - D: unknown
Page 1, 2, 3, 4

Arthur Phelps

1st Great Grandfather
B: 1863 - D: unknown
Page 5-7

Joseph Phelps
B: 1897 - D: 1972
Grandfather
Page 8-14

Horace Adrian Phelps Sr.
B: 1919-D: 1990
Father

Page 12, 15, 17, 18, 17

Emily Hunt

2nd Great Grandmother

B: unknown - D: unknown
Page 1, 2, 3, 4

Francis Phelps

1st Great Grandfather
B: 1878 - D: 1919
Page 1, 2, 5-7

Edna Oliver

B: 1899 - D: 1990
Grandmother

Page 8, 9, 12, 13, 14

fase Co fl?
 

 

Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 40 of 58

7/21/2020 Ancestry.com

Georgia, Deaths Index, 1914-1940

Record Index

Name: Phelps Frank
Maiden Name:
Gender: Male
Race:
Ethnicity:
Age:
Marital Status:
Birth Date:
Birth Place:
Occupation:
Death Date:
Death Place:
Cemetery:
Burial Place:
Father:
Mother:
Spouse: Emily Hunt ~~
Child: Francis Mabry
Certificate Number:

Source Information

Record Url: https://www.ancestry.com/imageviewer/collections/2562/images/004176525_00853

Source Citation: Georgia Department of Health and Vital Statistics; Atlanta, Georgia

Source Information Ancestry.com. Georgia, Deaths Index, 1914-1940 [database on-line]. Provo, UT, USA: Ancestry.com Operations, Inc., 2011.

Original data: "Georgia Deaths, 1914-1927." Index. FamilySearch, Salt Lake City, Utah, 2007. "Georgia Deaths, 1914-1927" and "Georgia Deaths,
1930," images, FamilySearch. Georgia Department of Health and Vital Statistics, Atlanta, Georgia.

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CERTIFICATE OF DEATH
COMMON WEALT OF CROBGIA —For State Registrar Only.

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Militia District of, —- moacee 4 aaceces ¥

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Inc. T f Registration District No._........
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PERSONAL AND STATISTICAL PARTICULARS MEDICAL CERTIFICATE OF DEATH

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ca Acer. | \ eon 4) 1 HEREBY CERTIFY, T attended deceased. ex
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and that death occurred on ¢

The CAUSE OF DEA as follows:
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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 42 of 58

7/21/2020 Ancestry.com

Georgia, Marriage Records From Select Counties, 1828-1978

Record Index

Name: Frank Phelps
Gender: Male
Marriage Date: 26 Nov 1870
Marriage Place: Jones, Georgia, USA
Spouse: Emily Hunt
Spouse Gender: Female

 

Source Information
Record Url: https://www.ancestry.com/imageviewer/collections/4766/images/40660_303299-00377

Source Information Ancesrty.com. Georgia, Marriage Records From Select Counties, 1828-1978 {database on-line}. Provo, UT, USA: Ancestry.com
Operations, Inc., 2013.
Original data: County Marriage Records, 1828-1978. The Georgia Archives, Morrow, Georgia.

https://www.ancestry.com/imageviewer/collections/4766/images/40660_303299-00377 ?usePUB=true&_phsrc=V wa 1356&usePUBJs=true&pld=855253 &backurl=https%3 A %2F%2 Fwww.ancestry.com%2Ffamilv-tree%2F

 
- 72a VV LOU

WARRAIGE LICENSE FOR GREAT GRAND PARENTS ,

SRSNEEPESE ES agg ty wags ce

 

 

MARRIAGE LICENSE.

Btate ‘of Georgia - Hones County:

TO ANY JUDGE, JUSTICE OF THE PEACE OR MINISTER OF THE GOSPEL:

YOU ARE HEREBY AUTHORIZED TO JOIN

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MARRIAGE LICENSE.

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State of Georgia, Aone Hones County:
TO ANY. JUDGE, JUSTICE OF THE PEACE OR MINISTER OF THE GOSPEL:

YOU ARK HEREBY AWULHORIZED Fro JOIN

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of thes Shae ” ab fr 40 dong, thes shall le y an auffeciant —Lecende. TN

Gruen undermy hand and seal, this ~t Tday of Dee 1873

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Georgia, _fones. Fanny

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MARRIAGE LICENSE.

Hiate of Gesrgia, Hones County:

TO ANY JUDGE, JUSTICE OF THE PEACE OR MINISTER OF THE GOSPEL:

YOU ARK HEREBY AUTHORIZED TO JOLN

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i of? thes Lalo» an? fer se doung, thes shall be your sefficvent Lacente, *
‘ “ Giuen under Ary, hand and seal, this 7% * day of Gecawlir1 $76

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MARRIAGE LICENSE.
State of Georgia, Alones County :
TO ANY JUDGE, JUSTICE OF THE PEACE OR MINISTER OF, THE GOSPEL:

YOU ARK THEREBY AUTHORIZED PO JOIN

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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 44 of 58

7/21/2020

Record Index

Name:

Age in 1910:
Birth Year:
Birthplace:
Home in 1910:
Ward:

Street:

House Number:
Race:

Gender:
Immigration Year:

Relation to Head of
House:

Marital Status:
Spouse's Name:
Parent's Name:
Father's Name:
Father's Birthplace:
Mother's Name:
Mother's Birthplace:
Native Tongue:
Occupation:
industry:

Employer, Employee
or Other:

Home Owned or
Rented:

Home Free or
Mortgaged:

Farm or House:

Naturalization
Status:

Attended School:
Able to read:
Able to Write:
Institution:
Years Married:

https://www.ancestry.com/imageviewer/collections/7884/images/31111 4327499-00375?usePUB=true& phsrc=Vwa1360&usePUBJs=true& pid=35964 | 5&backurl=https%3A 62F%2Fwww.ancestry.com%2Ffamily-tree%2

1910 United States Federal Census

Arthur Phelps

50

1860

Georgia

Wallace, Jones, Georgia

Black
Male

Head

Married
Francis Phelps

Georgia
Georgia
English
Farm Operator

General
Employer

Rent

Farm

No
No

13

Ancestry.com

 

 
 

 

Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 45 of 58

7/21/2020 Ancestry.com

Number of Chiidren
Born:

Number of Children
Living:
Out of Work:

Number of Weeks Out
of Work:

Survivor of Union or

Confederate Army or

Navy:

Blind:

Deaf and Dumb:
Neighbors: View others on page

Household Members: 3

Source Information
Record Url: https://www.ancestry.com/imageviewer/collections/7884/images/31111_4327499-00375

Source Citation: Year: 1910; Census Place: Wallace, Jones, Georgia; Roll: T624_200; Page: 14B; Enumeration District: 0077; FHL microfilm: 1374213

Source Information Ancestry.com, 1910 United States Federal Census [database on-line]. Lehi, UT, USA: Ancestry.com Operations Inc, 2006.
Original data: Thirteenth Census of the United States, 1910 (NARA microfilm publication T624, 1,178 rolls). Records of the Bureau of the Census,
Record Group 29. National Archives, Washington, D.C. For details on the contents of the film numbers, visit the following NARA web page: NARA.

https://www.ancestry.com/imageviewer/collections/7884/images/3 1111 4327499-00375?usePUB=true& phsrc=V wa 1360&usePUBJs=true&nld=35964 15& backurl=httos%3A %2F%2Fwww.ancestry.com%2Ffamilv-tree%2
Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 46 of 58

7/21/2020 Ancestry.com

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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 47 of 58

7/21/2020

Record Index

Name:

Gender:
Residence Year:
Street Address:
Residence Place:
Death Date:

Death Place:
Occupation:
Spouse:
Publication Title:

Rev Joseph P Phelps
Male
1954

Macon, Georgia, USA

Pastor
Edna M Phelps

Macon, Georgia, City
Directory, 1954

Source Information

Ancestry.com

U.S. City Directories, 1822-1995

Record Url: https://www.ancestry.com/imageviewer/collections/2469/images/12253203

Source Information Ancestry.com. U.S. City Directories, 1822-1995 [database on-line]. Provo, UT, USA: Ancestry.com Operations, Inc., 2011.
Original data: Original sources vary according to directory. The title of the specific directory being viewed is listed at the top of the image viewer

page. Check the directory title page image for full title and publication information.

https://www.ancestry.com/imageviewer/collections/2469/images/ 12253203 2usePUB=true&_phsrc=V wq 1345&usePUBJs=true& pld=70 1 525675&backurl=https%3A %2F%2 Fw ww.ancestry.com%2Ffamily-tree%2Fperson%
 

 

 

 

 

Case 1:20-cv-03113-SCJ Document 1

 

92 Yeare—Progressive Service

‘Vols, 2-238) - 38-2628

Filed 07/27/20 Page 48 of 58

 

 

 

PETERSON

--Derothy W clk Rob{ns AFB r1247
Rocky Creek rd

~-Elt2 M (wid Wm L) hlit2 Appleton av

--Ida Mrs h7)1 Schaeffer p!

--Irene wadr Willingham Cot Mill r3840
Napier av

+-Joha B (Francis) b3355 Osborne av

--John B studt ri486 Edgewood av

--Jobany F plant wkr Inland Container
7719 Miller dr

--L C buyer True Temper Corp r
Columbus Ga

--Liveous A wkr Robins AFB r Rhine Ga

-~Lols G clk Robins AFB r Warner
Robins Ga

--Minnie Mrs presser New York Cleaners
h690 Hall

--Mollie J Mrs restr 1912 Moore h do

--Molly J (wid Jas} h358 Hazel

--Nine spar Willingham Cot Mill r§840
Napier av

+-Ollle F plant wkr Inland Container
75304 Bloomfield rd

--Ralph L @oria L) formn Willinghem
Cot h791 Kinnett av

--Roy H sismn Charlie Wood Inc r607
Woolfolk

--Tommie E (Annie M) plant wkr Intend
Container b4374 Capito! av

--Wm (Minnie) emp Peter-Pan Ladry
b690 Hall

Petroleum Carrier Corp mgr Warren
H Williams transport 126 Harliey av

Pettey Marie G acct clk Robins AFB
r Hawkinsville Ga

Pettigrew Fred W (Margt) lab Birdsey
Fiour Milla h1013 Dennis

--Garfieid lab Robins AFB r Dry
Branch Ga

--Henry (Lucy M) lab Std Development
71078 Kitchens pi

--John H (Annie) lab h1263 Kitchens

--John M (Louise G) city firefighter
b525 Crisp

--Jotm T repr Robins AFB r Milledge-

wrapper McAfee

P.
--Mary L Mrs h563 Maynard
--Vann (wid John) r$38 Charies
--Wiley emp Malcolm G Aldridge
Pettis Albert W (Gera E) firemn Naval
Ord h3235 Napier av
--Barbara J clk Hogg's Drug r Napier

av

--Benonte V (Maggie) emp Robins AFB
h582 Center

--Jas E opr Robins AFB r Cochran Ga

--Jobn W (Mamie J) cln Robits AFB b
D-1 Pendleton Homes

--Lee V servma W E Gates Co r932
Newberg av

--Maggie Mrs slswn Newberry’s h592
Center

--Mary L mach opr Macon Shirt r Dan-
ville Ga

east O supyr Macon Shirt r Denville

Ee Alice Elirra mach opr Happ Bros
74541 Houston av
Petty Beverly S ofc sec Delta Tank Mfg

 

1083 High

PETTY

+-David E prod Robins AFB r Warner
Robins Ga

++J Robie (Gussie B) slamn Chas H Yates
Mtrs hl294 Ross

--Jas C (Murrie H) slsmn Sterchi’s
hi193 Schley

--Jos M dept mgr Royal Loan & Finance
he6s High

--May V (wid Arthur M) h1087 Linden av

--S Aug (Noma L; Tatnall Square Dry
Cin} h1196 Briarciiff rd

Petzinger Mary A (wid Chas) r2424
Napier av

Peugh Robert M mach opr Robins AFB
r Warner Robins Ga

Peurtfoy Betty G asst Robins AFB r
Warner Robins Ga

--Hugh O tehr Lanier Sr Hi r1736
Columbus av

--Robt H emp Robins AFB r Warner
Robins Gs

Pevis Clair H Mrs emp Robins AFB
406 Clinton

--Mallory {Clair H) driver Yellow Cab
406 Clinton

-+Minor F mgr Yellow Cab r406 Clinton

Peyton see also Payton

--Eunice W (wid Thos) h1871 Houston ay

--Mary D (wid Wm F) h126 Bay

--Thos (Jewel C) emp Cochrane Fleld
71671 Houston av

Pfenning Robt G (irene C) frt solr
Harper Mtr Linea h2900 Cherry av
apt 28B

Phagan Martin C (Frances M) wvr
Willingham Cot b527 Holt av

--Odelll H dispr Robins AFB r2345
Felton av

Phares Anna cik First Nat! Bk & Trust
71531 Dexter av

--Dorthy nurse Macon Hosp r1531 Dexter

av

Pharts Chas (Myrtice B) emp Naval Ord
hS24 Ormond Ter

Eparmes Jesse R (Naomt) 424 Cynthia

Pharms Amos £569 E 2d

--Amos jr (Lillian D) mtcemn Douglass
Theatre h559 E 2d

Pharr Agnes H Mrs emp Pharr’s Photo
Studie b575 Emity pt

~-Walter M (Agnes H; Pharr’s Studio)
h575 Emily pl

Pharr's Studio Walter M Pharr) photogs
137 Cherry

Phelp Abbie r9565 Case

Phelps Carolyn G Mra tcbr Lanier Jr
Hi Sch for Boys ri39 Forest av

--David A emp Robins AFB r Perry Ga

~-Donald T hipr Cannon Transfer &
Storage r175 Lower

--E Doris emp Sou Crate & Veneer r175
Lower Bay

--Eddte (Luella) lab Maxwell Bros h1907
Cedar av

-~Fannie (wid Glasce) maid Ezele Chaney

1974 Price

--Frank tab Bibb Concrete Pipe r3647
Floyd av

--Georgia H clk typ Robins AFB r2611
Montpelier av

~-Hattie r1097 Smith

 

 

ISAAC J. HENRY

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439 Broadway

E . McMillan Paint & Glass Co.

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PHELPS

--Jas M estimator Ga Sou Constn r139
Forest av

--Jas W guard Robins AFB r Perry Ga

--Joan E Mrs elk Robins AFB r Warner
Robina Ga

--John H (Josephine P) ydma h965 Mart

--Jos P Rev {Edna M) paster Church of
God in Christ b175 Lower Bay

+-Lee O (Alice) wood yd 448 Enijott bdo

--Lucille K Mrs ofe sec Invesiors
Diversified Services r1174 Appleton
av

~-Marion porter Beik-Maithews r175
Lower Bay

+-Mason B (Lucille K) r1174 Appleton av

ea ilired it L Mrs corres Sears h3$33
Del Park

-+Milten B (Dorothy J) emp Robins AFB
h@6-D Tindall Hts Homes

+-Richd r1170 Hall

+-Robt W repr Robins AFB r4273

(Ge M) prod mgr T M
Raines Gro h2565 Montpelier av
-~Tim R slamn Macon Paper r Griffin
Ga
--Verna R canner Bateman Frozen Food
7175 Lower Bay
--Walter (Annte By carp 6735 Hall
~-Watley whsemn Robins AFB r Lirella

Ga

--Wiley T jr (Mildred L) bkpr Central
Tire h3553 Det Park

--Zeter M Mrs h633 Pringle

Phelts John (Deris W} patr Robins AFB
h2035 Canton

Phenizy Wm W jr (Loutse B) slamna
Vogue Cleaner h755 Orange ter

Phi Delta Theta Richard K Pate sec
1486 Edgewood av

~-Mu Sorority Virginia Yaden v-pres
1360 College

Phifer Jas R guard Robins AFB ri270
Aubura av

Philadelphia Hat Cleaning Co (Redden J
Goodson} 613 Charry

Philips Jas H USN ri087 Rose pl

Phillips Ada C (wid Andrew J) r1367
Blackmon av

--A} studt r@24 Graham

--Albert D (Hattie B) asmbir Robina AFB
71198 Dunean av

--Albert L (Lucy J) h23-A Oglethorpe
Homes

--Alma pkr Macon Shirt r863 2d

--Alma L pkr Macon Shirt r Danville Ga

--Alpheus M (Julia G) asst med dir
Bankers Health & Life Ins b13! Buford

rt

--Aiva S (Juanita B) widr Taytor Iron
Wks & Sup b1071 Walnut

--Andrew A (Bessie W) emp Little
Tavern hi266 3d

--Aanie R hsekpr h1071 Dennis

--Beatrice C Mrs emp Robins AFB
1438 Batley av

+-Ben r201 Lower Bay

-~Ben (Anna) Isb Robins AFB hb06
Bowman

--Benj (Henrietta) porter State Heslth
Dept h1251 8th

--Benj sismn Natl Sup r1110 7th

SNA
PHILLIPS

--Chas H (Dorothy M) slam Corbin Sup
1585 Colonial dr

--Chas M (Milford B) forma Robins AFB
1636 Edna Place rd

ee Perle (Hattie B) emp G Bowen h659
Nort:

~-Charite QO hipr Robins AFB r Ft Valley
ess mach opr Macon Shirt r1443
3d

--Clinton (Grace V) partemn McGoldrich
Mtr rRD S

~-Curtis instr Fred Asteire Dance Studio
r801 Seren

--Dalay E ¢ Howard) r2097 Pio Nono

av
--Dinah (wid Jackson) r490 Wiliiama
Me

«
--Dvell C repr Robins AFB r645 Wainut
--Edw (Phyllis A; Mecon Praotg) r2388
Recreation rd
~-Edw lab Cherokee Brick & Tile r373

Bdwy

--Elise Z repr Robins AFB r Warner
Robins Ga

--Elits W (Mary A) opr Robins AFB
b1087 Rose pi

~-Elsie maid r1048 Woolfolk

--Ethel L Mrs emp Robins AFB hb24
Oglethorpe

--Eug supvr. Inland Container Corp
72974 Morse Allen rd

--Eug usher Douglass Theatre r767 Ash

~-Eunice Mrs h785 Edgewood av

--Florence G cli Robina AFB r3714
Ridge av

~-Frater B eure hipr Sing Serv Sta

~-Garrard L (Gussie C} stock clk Ga
Pwr hi60 Fiorida av

-~-Geo (Martha H) lab h110 May av

--Geo H (Mtnnle Y; Phillips Garden Mert)
b1320 can av

--Geo T mtcemn Dannenberg's r612 2d

--Gerald emp Sou Wood Preserving
1859 Cherry

--Gordon (Della Mc) mach opr Herbert
G Tinker h3681 W Napier av

--Grover C (Margaret A; Phillips Motor)
7185 Par! av

-~Grover F (Bestrice C) overseer
Atlantic Cot hi438 Batley av

--Gus L emp Robins AFB r Warner
Robins Ga

-~-Gussie C Mrs tel opr Dannenberg's
h180 Florida av

--Harry (Ethel L) hipr City San Dept
h924 Ogiethorpe

--Hattie G (wid Rev Wm) drsamkr 169
Ward h do

--Henry D wtebmn Taylor fron Wks &
Sup r2575 Masseyville rd

--Henory H supt Gulf Life Ins r Milledge-

 

ville Ga

 

 

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Kiag HEATING CO.

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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 49 of 58

7/21/2020

Record Index

Name:

Respondent:
Temporarily Absent:
Age:

Estimated Birth Year:
Gender:

Race:

Birthplace:

Marital Status:

Relation to Head of
House:

Home in 1940:

Map of Home in 1940:
Street:

House Number:
Farm:

Inferred Residence in
1935:

Residence in 1935:

Resident on farm in
1935:

Citizenship:
Sheet Number:
institution:

Number of Household
in Order of Visitation:

Father's Birthplace:
Mother's Birthplace:
Occupation:
Industry:

House Owned or
Rented:

Value of Home or
Monthly Rental if
Rented:

Woman Marriages:

Woman Age at First
Marriage:

https://www.ancestry.com/imageviewer/collections/2442/images/M-T0627-00640-00603?usePU B=true&_phsrc=V wq 1342&usePUBJs=true& pld=487 | 4437&backurl=https%3A %2F% 2Fwww ancestry.com%2Ffamily-tree?

Ancestry.com

1940 United States Federal Census

Jose pa Phe |ps

Joseph Pheeps

41

1899
Male

2
Georgia
Married
Head

Macon, Bibb, Georgia
Macon,Bibb,Georgia
Elrev Street

120

Macon, Bibb, Georgia

Same Place
No

19A

475

Laborer
Brick Mfg Plant
Rented

8

Jo
Case 1:20-cv-03113-SCJ Document 1 Filed 07/27/20 Page 50 of 58

7/21/2020 Ancestry.com

Number of Children
Ever Born:

Attended School or No
College:

Highest Grade Elementary school, 8th
Completed: grade

Hours Worked Week 42
Prior to Census:

Duration of
Unemployment:

Class of Worker: Wage or salary worker in
private work

Weeks Worked in 52
1939:

Income: 655

Income Other No
Sources;

Native Language:
Veteran:

Veteran Father Dead:
Military service:

Social Security
Number:

Usual Occupation:
Usual Industry:

Usual Class of
Worker:

Neighbors: View others on page
Household Members: 12

Source Information

Record Url: https://www.ancestry.com/imageviewer/collections/2442/images/M-T0627-00640-00603

Source Citation: Year: 1940; Census Place: Macon, Bibb, Georgia; Roll: m-t0627-00640; Page: 194; Enumeration District: 11-22

Source Information Ancestry.com. 1940 United States Federal Census [database on-line]. Provo, UT, USA: Ancestry.com Operations, Inc., 2012.

Original data: United States of America, Bureau of the Census. Sixteenth Census of the United States, 1940. Washington, D.C.: National Archives
and Records Administration, 1940. T627, 4,643 rolls.

https://www.ancestry.com/imageviewer/collections/2442/images/M-T0627-00640-00603 ?usePUB=true&_phsrc=Vwq1342&usePUBIs=true& pld=487 | 4437 &backurl=https 3A %2F% 2Fwww.ancestry.com%2Ffamily -tree%

 

 
 

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7/21/2020

https://www.ancestry.com/imageviewer/collections/4766/images/40951_294498-00321?usePUB=true& phsrc=Vwal346&usePUBJs=true&pld=166242&backurl=httos%3 A %2F%2 Fwww.ancestrv.com%2Ffamilv-tree%2F1

Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 52 of 58

Ancestry.com

Georgia, Marriage Records From Select Counties, 1828-1978

Record Index

Name: Joseph Phelps
Gender: Male
Marriage Date: 14 Jan 1917
Marriage Place: Bibb, Georgia, USA
Spouse: Edna Mae Oliver
Spouse Gender: Female

Source Information
Record Url: https://www.ancestry.com/imageviewer/collections/4766/images/40951_294498-00321

Source Information Ancesrty.com. Georgia, Marriage Records From Select Counties, 1828-1978 [database on-line]. Provo, UT, USA: Ancestry.com

Operations, Inc., 2013.
Original data: County Marriage Records, 1828-1978. The Georgia Archives, Morrow, Georgia.

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In the Holy State of Matrimony, acco -tonthe Constitution and Eewe of this State, and for 00 doing, this shall be
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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 53 of 58

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your sufficieat

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In the Holy Stat of Matrimony, ag th Crafton of i Sod ew dng, this shall be.
your mufficieat Litense. And you sre hereby reynicet to"proseptly return thin Tleense to me, with your
of the fact and date of the Marriage.
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3 Gertite, Shae L b8 Lf et Lad

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your euficiest Tienes. ee ee ee Dereon,
of the fort anf dete of the Marsiage.

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Edna Oliver
B: 1899 - D: 1990

Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 54 of 58

Joseph Phelps
B: 1897 - D: 1972

 

 

 
 

Case 1:20-cv-03113-SCJ Document iled 07/27/20 Page 55 of 58

1940 United States Federal Census

Record Index

Name: Horace Pheeps

Respondent:
Temporarily Absent:
Age:

Estimated Birth Year:
Gender:

Race:

Birthplace:

Marital Status:

Relation to Head of
House:

Home in 1940:

Map of Home in 1940:
Street:

House Number:
Farm:

Inferred Residence in
1935:

Residence in 1935:

Resident on farm in
1935:

Citizenship:
Sheet Number:
Institution:

Number of Household
in Order of Visitation:

Father's Birthplace:
Mother's Birthplace:
Occupation:
Industry:

House Owned or
Rented:

Value of Home or
Monthly Rental if
Rented:

Woman Marriages:

Woman Age at First
Marriage:

Number of Children
Ever Born:

Attended School or
College:

Highest Grade
Completed:

Hours Worked Week
Prior to Census:

Duration of
Unemployment:

Class of Worker:

Weeks Worked in
1939;

Income:

Income Other
Sources:

Native Language:

 

18

1922
Male

2
Georgia
Single
Son

Macon, Bibb, Georgia
Macon,Bibb,Georgia
Elrev Street

120

Macon, Bibb, Georgia

Same Place
No

19A

Laborer
Box Mfg Plant

No

Elementary school, 5th
grade

42

Wage or salary worker in
private work

30

330
No
7/2342020

Case 1:20-cv-03113-SCJ Documenmtcdiy.eited 07/27/20 Page 56 of 58

Social Security
Number:

Usual Occupation:
Usual Industry:
Usual Class of
Worker:
Neighbors: View others on page
Household Members: 12

Source Information

Record Urk: vuipse ivy aices ty Cor magerey ecole s 2447 rages M TO827 D0646-
i

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Source Citation: Year: 1940; Census Place: Macon, Bibb, Georgia; Roll: m-t0627-00640; Page:
19A Enumeration District: 11-22

Source Information Ancestry.com. 1940 United States Federal Census {database on-line].
Provo, UT, USA: Ancestry.com Operations, inc., 2012.

Original data: United States of America, Bureau of the Census. Sixteenth Census of the United
tates, 1940. Washington, D.C.: National Archives and Records Administration, 1940. 1627, 4,643
rolls.

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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 57 of 58

7/21/2020

Record Index

Name:
Gender:
Race:
Age:

Relationship to
Draftee:

Birth Date:

Birth Place:
Residence Place:
Registration Date:
Registration Place:

U.S. WWII Draft Cards Young Men, 1940-1947

Horace Phelps
Male

21
Self

24 Oct 1919
Macon, USA

1 Jul 1941
Macon, Bibb, Georgia,

Ancestry.com

 

USA

Employer:

Weight:

Complexion:

Eye Color:

Hair Color:

Height:

Next of Kin: Edith Phelps
Household Members: 2

Source Information
Record Uri: https://www.ancestry.com/imageviewer/collections/2238/images/47553_B579513-00031

Source Citation: The National Archives at Fort Worth, Texas; Fort Worth, Texas; WWII Draft Registration Cards for Georgia, 10/16/1940-03/31/1947,
Record Group: Records of the Selective Service System, 147

Source Information Ancestry.com. U.S. WWil Draft Cards Young Men, 1940-1947 [database on-line]. Lehi, UT, USA: Ancestry.com Operations, Inc.,
2011.
Original data: View Sources.

https://www.ancestry.com/imageviewer/collections/2238/images/47553_B579513-0003 1 ?usePUB=true& phsrc=Vwa 1 368&usePUBIs=true&nld=38878228& hack url=htins%3A M2? Pwww ancestry com%h? Familv-tree’

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Case 1:20-cv-03113-SCJ Document1 Filed 07/27/20 Page 58 of 58

 

SERIAL NUMBER i 1, Name (Print) “ORDER NUMBER
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(First) (Middle) (last)?

 

 

8. ADDRESS (Print)

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8, TELEPHONE 4. AGE IN YEARS & FLACK OF BIRTH 6. COUNTRY OF
: CITIZENSHIP

 

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9. ADDRESS or THat PERSSON

(Number and atseet or R. F. D. ouscber) (County)
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REGISTRATION CARD : 4
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